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Leave to file GRANTED
a 5: Stile Aitan D. Goelman
@) United States District Judge Zuckerman Spaeder LLP
q- 28° 2020 AG oolman@z4ckormanscom

ZUCKERMAN
SPAEDER

September 28, 2020
VIA E-MAIL

Honorable Emmet G. Sullivan
333 Constitution Avenue N.W.
Washington D.C. 20001

Re: — United States v. Michael T. Flynn, Case No. 17-CR-232

Dear Judge Sullivan,

I write on behalf of my client, former FBI Special Agent Peter Strzok. On September 24,
2020, in the case of United States v. Michael T. Flynn, No. 17-CR-232, counsel for defendant
Michael T. Flynn filed a supplement to a previously filed Motion to Dismiss. The attachments to
this filing included both notes written by Mr. Strzok as well as text messages sent or received by
Mr. Strzok.

Some of Mr. Strzok’s notes included in this attachment appear to have been altered. On
at least two occasions, there were handwritten additions, not written by Mr. Strzok, inserting
dates, apparently designed to indicate the date or dates on which the notes were written. On at
least one occasion, the date added is wrong and could be read to suggest that a meeting at the
White House happened before it actually did. I’m attaching to this letter a copy of these two
pages of notes, with highlighting to indicate the handwritten notations that Mr. Strzok did not
write.

I also note that the texts of Mr. Strzok’s that were attached to the defendant’s pleadings
include portions that had not previously been released and have nothing to do with the Flynn
case or, more broadly, with the Department of Justice.

Finally, Mr. Flynn’s filing appears to violate the Court’s Order not to file any additional
supplements to pending motions until the government’s “Brady” production is complete.

Respectfully submitted,

JAG
;

Aitan D. Goelman

ZUCKERMAN SPAEDER LLP | WASHINGTON, DC | NEW YORK | TAMPA | BALTIMORE
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